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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TIMOTHY THOMAS : CIVIL ACTION
Plaintiff :
NO. 16-4285
v.
TRANS UNION, LLC, et al.
Defendants
ORDER

AND NOW, this 21° day of September 2017, upon notification that the issues
between Plaintiff and Defendants have been settled, it is hereby ORDERED that all claims
against said Defendants are DISMISSED with prejudice, pursuant to the agreement of the
parties. To conform to Local Rule of Civil Procedure 41.1(b), the Clerk of Court is directed to

enter this Order and to mark this case closed.

BY THE COURT:

/s/ Nitza I. Quifiones Alejandro
NITZA I. QUINONES ALEJANDRO, J.
Judge, United States District Court
